Case 25-11354-JNP          Doc 366      Filed 06/30/25 Entered 06/30/25 16:34:05                  Desc Main
                                       Document     Page 1 of 10



                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                    FEE APPLICATION COVER SHEET

 Debtors:    Daryl Fred Heller                  Applicant: McManimon, Scotland & Baumann, LLC

 Case No.: 25-11354 (JNP)                       Client:       Daryl Fred Heller

 Chapter:    11                                 Case Filed: February 10, 2025


                                               SECTION 1
                                             FEE SUMMARY

  Interim Fee Application No. 1st or  Final Fee Application

                                          FEES                              EXPENSES

 Total Previous Fee Requested:1           $ 309,961.50                      $ 6,441.01
                                2
 Total Fees Allowed To Date:              $ 247,969.20                      $ 6,441.01
                                 3
 Total Retainer (If Applicable) :         $ 31,307.50
 Total Holdback (If Applicable):4         $ 61,992.30
 Total Received By Applicant:             $ 123,163.34


 NAME OF PROFESSIONAL &                           YEAR             HOURS          RATE             FEE
 TITLE                                          ADMITTED

1. Anthony Sodono, III, Partner                     1990              166.40       725.00       $120,640.00

2. Andrea Dobin, Partner                            1990                10.90      560.00          $6,104.00

3. Joshua H. Raymond, Partner                       1996                12.30      560.00          $6,888.00

4. Michele M. Dudas, Partner                        2006                 6.50      560.00          $3,640.00

5. Sari B. Placona, Partner                         2014              218.40       525.00       $114,660.00

6. Joseph Zapata, Partner                           1999                31.60      375.00         $11,850.00


 1
   These amounts represent 100% of fees and 100% of disbursements requested in McManimon, Scotland & Baumann’s
 monthly fee statements for February, March, April and May 2025.
 2
   These amounts represent 80% of fees and 100% of disbursements requested and allowed in McManimon, Scotland
 & Baumann’s monthly fee statements for February, March, April and May 2025.
 3
   The total amount of the retainer was $40,738.00, however McManimon, Scotland & Baumann was paid $9,430.50
 for pre-petition fees, leaving a retainer in the amount $31,307.50.
 4
   This amount represents the 20% holdback on fees for McManimon, Scotland & Baumann’s monthly fee statements
 for February, March, April and May 2025.
Case 25-11354-JNP         Doc 366      Filed 06/30/25 Entered 06/30/25 16:34:05    Desc Main
                                      Document     Page 2 of 10



 NAME OF PROFESSIONAL &                       YEAR        HOURS       RATE         FEE
 TITLE                                      ADMITTED

7. John Stern, Associate                        2019         123.30   300.00       $36,990.00

8. Scott D. Platton, Associate                  2021           7.90   285.00        $2,251.50

9. Connor Ashnault, Summer Assoc.               N/A            2.60   250.00         $650.00

10. Isabella Fisher, Summer Assoc.              N/A           12.90   250.00        $3,225.00

11. Stacy Lipstein, Legal Assistant             N/A            6.00   200.00        $1,200.00

12. Bernadette B. Chillemi, Paralegal           N/A            4.40   190.00         $836.00

13. Kathleen Riley, Paralegal                   N/A            1.00   190.00         $190.00

14. Matthew Kelly, Legal Assistant              N/A            3.30   190.00         $627.00

 TOTAL:                                                      607.50               $309,751.50

          Fee Totals:                     $309,741.50
          Disbursements Totals:              6,441.01
          Total Fee Application           $316,402.51




                                                 2
 4905-3708-5264, v. 1
Case 25-11354-JNP           Doc 366     Filed 06/30/25 Entered 06/30/25 16:34:05             Desc Main
                                       Document     Page 3 of 10




                                           SECTION II
                                       SUMMARY OF SERVICES

  SERVICES RENDERED                                                              HOURS     FEE
  Asset Analysis and Recovery
      Identification and review of potential assets including causes of action     7.40      $3,645.00
      and non-litigation recoveries.
  Asset Disposition
                                                                                  44.80     $22,187.50
      Sales, leases, abandonment and related transaction work
  Avoidance Action Litigation
                                                                                  17.10      $8,932.50
       Preference and fraudulent transfer litigation.
  Business Operations
      Issues related to debtor-in-possession operating in chapter 11 such as      11.00      $5,775.00
      employee, vendor, tenant issues and other similar problems.
  Case Administration
       Coordination and compliance activities, including preparation of
       statement of financial affairs, schedules, list of contracts, United       338.00   $176,884.50
       States Trustee interim statements and operating reports; contacts with
       the United States Trustee; general creditor inquires.
  Claims Administration and Objections
       Specific claim inquiries; bar date motions; analyses, objections and       29.10     $11,993.00
       allowance of claims.
  Employee Benefits/Pensions
      Review issues such as severance, retention, 401K coverage and                0.00           0.00
      continuance of pension plan.
  Fee/Employment Applications
       Preparations of employment and fee applications for self or others;        23.60      $9,900.50
       motions to Establish interim procedures.
  Fee/Employment Objections
       Review of an objections to the employment and fee applications of           0.00           0.00
       others.
  Financing
      Matters under 361, 363 and 364 including cash collateral and secured         0.00           0.00
      clams; loan document analysis.
  Litigation
       Other than Avoidance Action Litigation (there should be a separate         95.40     $44,756.50
       category established for each major matter).



                                                        3
 4905-3708-5264, v. 1
Case 25-11354-JNP          Doc 366     Filed 06/30/25 Entered 06/30/25 16:34:05             Desc Main
                                      Document     Page 4 of 10



  Meetings of Creditors
      Preparing for and attending the conference of creditors, the 341(a)        12.40      $7,670.00
      meeting and other creditors’ committee meetings.
  Plan and Disclosure Statement
       Formulation, presentation and confirmation; compliance with the plan
       confirmation order, related orders and rules; disbursement and case        1.00       $322.50
       closing activities, except those related to allowance and objections to
       allowance of claims.
  Relief from Stay Proceedings
       Matters relating to termination or continuation of automatic stay          7.20      $4,322.00
       under 362
  Accounting/Auditing
       Activities related to maintaining and auditing books of account,           1.50       $787.50
       preparation of financial statements and account analysis.
  Business Analysis
       Preparation and review of company business plan; development and           1.10       $577.50
       review of strategies; preparation and review of cash flow forecasts
       and feasibility studies.
  Corporate Finance
      Review financial aspects of potential mergers, acquisitions and             0.00           0.00
      disposition of company or subsidiaries.
  Data Analysis
      Management information systems review, installation and analysis,           8.20      $5,945.00
      construction, maintenance and reporting of significant case financial
      data, lease rejection, claims, etc.
  Litigation Consulting
      Providing consulting and expert witness services related to various         0.00           0.00
      bankruptcy matters such as insolvency, feasibility, avoiding actions;
      forensic accounting, etc.
  Reconstruction Accounting
      Reconstructing books and records from past transactions and brining         0.00           0.00
      accounting current.
  Tax Issues
                                                                                  0.00           0.00
      Analysis of tax issues and preparation of state and federal tax returns.
  Valuation
                                                                                  0.00           0.00
      Appraise or review appraisals of assets.
  Travel Time                                                                     9.70      $6,052.50
  SERVICE TOTALS:                                                                607.50   $309,751.50


                                                       4
 4905-3708-5264, v. 1
Case 25-11354-JNP          Doc 366     Filed 06/30/25 Entered 06/30/25 16:34:05              Desc Main
                                      Document     Page 5 of 10



                                       SECTION III
                                 SUMMARY OF DISBURSEMENTS

    DISBURSEMENTS                                                                    AMOUNT

    Filing Fees
                                                                                     $2,367.00
        Payable to the Clerk of the Court

    Computer Assisted Legal Research
                                                                                      $204.24
      Westlaw, Lexis and a description of manner calculated.

    Pacer Fees
                                                                                      $511.70
       Payable to the Pacer Service Center for search and/or print.

    In-house Reproduction Services
                                                                                      $122.80
        Exclusive of overhead charges.

    Other Research                                                                    $521.00
       Title searches, UCC searches, Asset searches, Accurint.

    Travel
                                                                                      $647.53
       Mileage, tolls, airfare, parking.

    Courier & Express Carriers
                                                                                      $556.34
       Overnight and personal delivery.

    Postage                                                                          $1,510.40

    Other                                                                                 0.00

    DISBURSEMENTS TOTAL:                                                             $6,441.01


 I certify under penalty of perjury that the above is true.


 Dated: June 30, 2025                                          /s/ Sari B. Placona
                                                               Sari B. Placona




                                                      5
 4905-3708-5264, v. 1
Case 25-11354-JNP         Doc 366    Filed 06/30/25 Entered 06/30/25 16:34:05                Desc Main
                                    Document     Page 6 of 10



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  McMANIMON, SCOTLAND
  & BAUMANN, LLC
  75 Livingston Avenue, Second Floor
  Roseland, NJ 07068
  (973) 622-1800
  Anthony Sodono, III (asodono@msbnj.com)
  Sari B. Placona (splacona@msbnj.com)
  Counsel for Daryl Fred Heller, the Chapter 11
  Debtor and Debtor-in-Possession

  In re:                                               Chapter 11
                                                       Case No. 25-11354 (JNP)
  DARYL FRED HELLER,
                                                       Hearing Date: August 7, 2025
                          Debtor.                      Hearing Time: 2:00 p.m.


           FIRST INTERIM APPLICATION FOR ALLOWANCE OF FEES AND
           REIMBURSEMENT OF EXPENSES TO McMANIMON, SCOTLAND &
           BAUMANN, LLC, COUNSEL FOR DEBTOR, FOR THE PERIOD FROM
           FEBRUARY 10, 2025, THROUGH MAY 31, 2025

           McManimon, Scotland & Baumann, LLC (“MSB”), as counsel for Fred Daryl Heller, the

 debtor and debtor-in-possession (the “Debtor”), hereby submits this first interim application (the

 “Application”) pursuant to 11 U.S.C. sections 330 and 331, Rule 2016 of the Federal Rules of

 Bankruptcy Procedure, and D.N.J. LBR 2016-1 for entry of an order allowing and directing payment

 to MSB on a first interim basis for (i) compensation in the amount of $309,961.50 for services rendered

 to the Debtor during the period from February 10, 2025 through May 31, 2025 (the “Fee Period”), and

 (ii) reimbursement of expenses incurred during the Fee Period in the amount of $6,441.01, for a total

 request of $316,402.51, and in support of this Application, respectfully represents as follows:

                                    JURISDICTION AND VENUE

           1.    This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157

 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           2.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.
Case 25-11354-JNP           Doc 366    Filed 06/30/25 Entered 06/30/25 16:34:05              Desc Main
                                      Document     Page 7 of 10



                                            BACKGROUND

          3.       On February 10, 2025 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned chapter 11 case in

 the United States Bankruptcy Court for the District of New Jersey. [ECF 1].

          4.       On February 11, 2025, MSB filed an Application for Retention of McManimon,

 Scotland & Baumann, LLC as Counsel for the Debtor (the “Retention Application”) [ECF 7].

          5.       On March 21, 2025, the Court entered the Order granting the Retention Application

 [ECF 138].

          6.       On March 2, 2025, MSB filed the Motion for Administrative Fee Order Establishing

 Certain Procedures for the Allowance of Interim Compensation and Reimbursement of Expenses of

 Professionals Retained by Order of This Court (the “Motion for Interim Compensation”) [ECF 98].

          7.       On April 3, 2025, the Court entered the Order granting the Motion for Interim

 Compensation (the “Interim Compensation Order”) [Docket No. 170], authorizing MSB to submit

 monthly applications (the “Monthly Fee Applications”) for interim compensation and reimbursement

 of expenses, pursuant to the procedures specified therein.

                              MSB’S APPLICATION FOR
                  COMPENSATION AND FOR REIMBURSEMENT OF EXPENSES

          8.       MSB’s monthly fee statements (the “Monthly Fee Statements”) for the periods from

 February 10, 2025 through May 31, 2025 have been filed and served pursuant to the Interim

 Compensation Order.

          9.       On April 9, 2025, MSB filed the First Monthly Fee Statement for the Period from

 February 1, 2025 through February 28, 2025 [ECF 173] (the “First Monthly Fee Statement”) requesting

 $78,097.50 in fees and $2,327.53 in expenses. The Certificate of No Objection for the First Monthly Fee

 Statement was filed on April 25, 2025 [ECF 201].




                                                     2
 4905-3708-5264, v. 1
Case 25-11354-JNP           Doc 366    Filed 06/30/25 Entered 06/30/25 16:34:05              Desc Main
                                      Document     Page 8 of 10



           10.     On April 10, 2025, MSB filed the Second Monthly Fee Statement for the Period from

 March 1, 2025 through March 31, 2025 [ECF 175] (the “Second Monthly Fee Statement”) requesting

 $70,427.00 in fees and $2,016.21 in expenses. The Certificate of No Objection for the Second Monthly

 Fee Statement was filed on April 25, 2025 [ECF 202].

           11.     On May 9, 2025, MSB filed the Third Monthly Fee Statement for the Period from April

 1, 2025 through April 20, 2025 [ECF 229] (the “Third Monthly Fee Statement”) requesting $92,998.00

 in fees and $1,599.75 in expenses. The Certificate of No Objection for the Third Monthly Fee Statement

 was filed on May 28, 2025 [ECF 286].

           12.     On May 9, 2025, MSB filed the Fourth Monthly Fee Statement for the Period from May

 1, 2025 through May 31, 2025 [ECF 335] (the “Fourth Monthly Fee Statement”) requesting $68,439.00

 in fees and $497.52 in expenses. The Certificate of No Objection for the Fourth Monthly Fee Statement

 was filed on June 29, 20205 [ECF 365].

           13.     In accordance with the Interim Compensation Order, MSB seeks interim approval of all

 fees and expenses sought in the Monthly Fee Statements and payment in an amount equal to the

 difference between the amount of the fees and expenses allowed and the actual payments received by

 MSB on account of the Monthly Fee Statements.

           14.     MSB has made no prior application for an allowance of fees and expenses in the within

 matter.

                               SUMMARY OF SERVICES RENDERED

           15.     By the within Application, MSB seeks an allowance of fees for services performed for

 the benefit of the Debtor during the Fee Period and reimbursement for actual out-of-pocket expenses

 made during such period of time.

           16.     During the Fee Period, MSB performed a wide variety of legal services in connection

 with this matter including, but not limited to, the following:


                                                      3
 4905-3708-5264, v. 1
Case 25-11354-JNP           Doc 366     Filed 06/30/25 Entered 06/30/25 16:34:05                Desc Main
                                       Document     Page 9 of 10



                  attended meetings and conferred with Debtor and Debtor’s professionals regarding,
                   among other things, the following: bankruptcy issues; preparation for chapter 11 filing,
                   chapter 11 issues, financials, chart of bank accounts, organizational structure, real
                   estate valuations and uses, sale of property, US Trustee issues, proof of claims,
                   amendments to schedules, insurance on property; monthly operating reports, utilities,
                   professional fees and sale issues;
                  prepared and filed Chapter 11 petition, list of 20 largest unsecured creditors, schedules
                   of assets and liabilities, statement financial affairs and disclosure of attorney
                   compensation;
                  prepared and filed first day bank account and utility motions, declaration of the Debtor
                   in support of the Chapter 11 Petition and first day pleadings;
                  prepared and filed notices of removal of various actions against the Debtor pending in
                   other courts.
                  prepared and filed retention application for MSB, real estate broker, accountants and
                   criminal counsel;
                  prepare and filed amendments to schedules;
                  prepared and filed sale motion to sell the property located in Sea Isle New Jersey;
                  prepared and filed status reports in adversary proceedings;
                  prepared and filed motion for an administrative fee order;
                  prepared and filed 9019 motion between the Debtor and Deerfield Capital
                   “(Deerfield”);
                  prepared and filed motion to extend exclusivity;
                  prepared and filed motion to expunge Prestige’s claims;
                  prepared and file application to release funds from MSB attorney trust account on
                   account of the Monthly Fee Statements;
                  prepared and filed various objections, including and not limited to, Deerfield’s motion
                   for stay relief; Orrstown Bank’s (“Orrstown”) motion to transfer venue; Reed Smith’s
                   retention application; Prestige’s stay motion; Prestige’s motion to appoint a chapter 11
                   trustee; Examiner’s counsel’s fees;
                  prepared and filed various replies, including and not limited to, Deerfield’s objection
                   to MSB’s retention; Orrstown’s objection to MSB’s application to release funds;
                   UST’s objection to McCarter & English’s retention; various objections to 9019 motion
                   with Deerfield and Orrstown;
                  prepared for, appeared at and travelled to court on various hearings;
                  prepared for and attended Initial Debtor Interview and 341(a) Meeting of Creditors;
                  reviewed and analyzed various motions, objections, replies and orders.
                  reviewed and analyzed claims and claims register;
                  prepared and filed monthly fee statements and related certifications of no objection;
                  reviewed and filed monthly operating reports.
                  reviewed and analyzed term sheet provided by Deerfield;
                  review and analyzed various complaints filed in adversary proceedings against the
                   Debtor;
                  prepared chart of all nondischargeability complaints;
                  meetings with the Examiner and review of Examiner Report;
                  communications with numerous creditors; and
                  reviewed and analyzed subpoenas.


                                                      4
 4905-3708-5264, v. 1
Case 25-11354-JNP              Doc 366 Filed 06/30/25 Entered 06/30/25 16:34:05                   Desc Main
                                      Document    Page 10 of 10



           17.     In addition to the aforementioned services, MSB performed a variety of other legal

 services on the Debtor’s behalf, including, but not limited to, numerous telephone conversations and

 correspondence with various counsel, creditors and Bankruptcy Court, drafting and reviewing

 correspondence, engaging in continuous discussions and correspondence with the United States Trustee’s

 Office and the Debtor regarding the Chapter 11 proceedings, review of Bankruptcy Court docket, and

 other services as necessary.

           18.     All of the services rendered by MSB were necessary and for the benefit to the within

 estate.

           19.     MSB shows that annexed hereto as Exhibit A is its in-house computer print-out

 itemizing all services performed during the Fee Period.

           20.     MSB further shows that, as reflected on Exhibit B attached hereto, a Certification in

 accordance with Section 504 of the Bankruptcy Code and 18 U.S.C. § 155 is being submitted herewith.

           WHEREFORE, McManimon, Scotland & Baumann, LLC, respectfully requests that an order

 be entered herein (i) granting it a first interim allowance for fees in the amount of $309,961.50 and

 reimbursement          of   out-of-pocket   expenses   in   the   amount   of     $6,441.01,   for   a   total

 award of $316,402.51; (ii) authorizing the Debtor to pay the outstanding amount of such sums due to

 MSB; and (iii) for such other and further relief as may be just and proper.

                                                    Respectfully submitted,

                                                    McMANIMON, SCOTLAND
                                                    & BAUMANN, LLC
                                                    Counsel to Daryl Fred Heller, Chapter
                                                    11 Debtor and Debtor-in-Possession

                                                    By:      /s/ Sari B. Placona
                                                             Sari B. Placona

 Dated: June 30, 2025




                                                        5
 4905-3708-5264, v. 1
